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      January 28, 2020
      Judge Michael E. Wiles
      United States Bankruptcy Court
      Southern District of New York
      One Bowling Green
      New York, NY 10004-1408

      VIA ECF

               Re:    19-11231 and 19-11232 Scorpion Fitness, Inc et al.
                      Request for Conference

             Pursuant to the Judge Wiles’ Individual Rules, John Shams, shareholder in
      and CEO of the Debtor-in-Possession in this matter, hereby makes a request for a
      telephonic conference with the Court in order to address the following issues:

               1) The failure of the U.S. Trustee in presenting a candidate to the Court
                  (Dkt. 158) to consult with Mr. Shams prior to selection and presentation
                  of the nominee to the Court;

               2) Mr. Shams’ substantive objections to the selection of this particular
                  trustee candidate;

               3) Whether this Court’s order of January 24, 2020 appointing a trustee was
                  made sua sponte or the result of an oral motion, and if such an oral
                  motion and/or argument did occur whether it occurred ex parte without
                  Mr. Shams or an attorney for him present and without proper notice to
                  Mr. Shams or opportunity for him to object;

               4) Any conflict of interest of counsel for the debtor at the time of the
                  presumed ex parte oral motion which lead to the debtor’s counsel’s non-




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                  objection despite the clear desire of John Shams as management and
                  shareholder to retain control which should have disqualified counsel
                  from participating in argument on such a motion;
                                                                                                 ,   .
               5) Whether, if it is established that an improper ex parte argument on an
                  oral motion for a trustee was inadvertently had without proper notice
                  and opportunity to object given to Mr. Shams, it is appropriate for all
                  parties’ attorneys to consent to vacate that order (or the Court will vacate
                  it sua sponte) as a matter of compliance with our professional ethics
                  obligations regarding ex parte communications, or whether written
                  motion practice, including a request for a temporary stay, will be
                  necessary to preserve Mr. Shams’ procedural objections.

              The main purpose of the requested conference would be to attempt to clarify
      the parties’ respective positions on the above issues, particularly in regards to
      whether the January 24th order was based in whole or part on an inadvertent,
      improper ex parte oral motion, in order to avoid unnecessary motion practice.
      Although at this stage it would be premature to delve into the substance of Mr.
      Shams’ objections to the appointment of a trustee, part of the solution may be the
      appointment of reputable and experienced substitute bankruptcy counsel for the
      debtor, paid for by Mr. Shams, who can give the Court and creditor proper
      assurances of the Debtor-in-Possession’s future compliance with its fiduciary
      obligations. I have already begun working with Mr. Shams on identifying such
      prospective substitute counsel.

              For conference scheduling purposes, I note that I have just been retained by
      Mr. Shams and have ordered the transcript of last week’s hearing rush to be
      delivered by tomorrow, January 29th, 2020. I also note that the US Trustee has
      application for an examiner (Dkt. 159) pending before the Court. I suggest the
      conference take place no earlier than the afternoon of Thursday, January 30th, 2020,
      and respectfully request the Court refrain from confirming the appointment of the
      nominated trustee in the interim.




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      Dated: January 28, 2020
                                             Respectfully submitted,
                                                                                   ,   .
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